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 3   One Sansome St., Suite 1400
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 4   Telephone: (415) 362.2580
     Facsimile: (415) 434.0882
 5
     Attorneys for Defendants, Cross-Defendants and
 6   Cross-Claimants CARLISLE COMPANIES INC.,
     CARLISLE CORPORATION and TENSOLITE
 7   COMPANY, sued erroneously herein as
     TENSOLITE INSULATED WIRE PACIFIC
 8   DIVISION, INC. and TENSOLITE INSULATED
     WIRE COMPANY
 9

10                                       UNITED STATES DISTRICT COURT

11                                    NORTHERN DISTRICT OF CALIFORNIA

12                                                SAN JOSE DIVISION

13   TYCO THERMAL CONTROLS, LLC,            )                   CASE NO. C 06 07164 JF RS
                                            )
14               Plaintiff,                 )                   DECLARATION OF PAUL A.
                                            )                   DESROCHERS IN SUPPORT OF
15         v.                               )                   MOTION BY THE CARLISLE
                                            )                   DEFENDANTS FOR AN ORDER
16   REDWOOD INDUSTRIALS, et al.,           )                   APPROVING SETTLEMENT, BARRING
                                            )                   CONTRIBUTION AND INDEMNITY
17               Defendants.                )                   CLAIMS PURSUANT TO THE UNIFORM
     ______________________________________ )                   COMPARATIVE FAULT ACT AND
18                                          )                   DETERMINING GOOD FAITH OF
     AND RELATED COUNTER AND                )                   SETTLEMENT
19   CROSS-ACTIONS                          )
                                            )                   Date:    June 25, 2010
20                                          )                   Time:    9:00 a.m.
                                            )                   Dept.:   Courtroom 3
21                                          )                   Judge:    Hon. Jeremy Fogel
                                            )
22                                          )                   ACTION FILED: November 17, 2006
                                            )                   TRIAL DATE:   TBD
23

24                I, Paul A. Descrochers, hereby declare as follows:

25                1) I am an attorney duly licensed to practice in the State of California and in the United States

26   District Court for the Northern District of California. I am a partner with the Law Firm of Lewis,

27   Brisbois, Bisgaard & Smith LLP, counsel of record for Defendants, Cross-Defendants and Cross-

28   Claimants CARLISLE COMPANIES INC., CARLISLE CORPORATION and TENSOLITE

     48 12 -76 59 -00 85 .1                    1
      DECLARATION OF PAUL A. DESROCHERS IN SUPPORT OF MOTION BY CARLISLE DEFENDANTS FOR
                               AN ORDER APPROVING SETTLEMENT
 1   COMPANY, sued erroneously herein as TENSOLITE INSULATED WIRE PACIFIC DIVISION,

 2   INC. and TENSOLITE INSULATED WIRE COMPANY (collectively referred to as “CARLISLE”)

 3   in the captioned action. I have personal knowledge of the facts set forth herein and can testify
 4   competently thereto if requested to do so.

 5                2)          Attached to this Declaration as Exhibit A is a true and correct copy of Settlement

 6   Agreement entered into between CARLISLE and Plaintiff TYCO THERMAL CONTROLS LLC
 7   (“TYCO THERMAL”) in the above captioned action on or about May 21, 2010.

 8               I declare that the foregoing is true and correct to the best of my knowledge and belief, dated

 9   this 21 day of May, 2010 at San Francisco, California.

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11                                                          /S/ Paul A. Desrochers
                                                            Paul A. Descrochers
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     48 12 -76 59 -00 85 .1                   2
      DECLARATION OF PAUL A. DESROCHERS IN SUPPORT OF MOTION BY CARLISLE DEFENDANTS FOR
                               AN ORDER APPROVING SETTLEMENT
